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UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF NEW YORK

In re:                                                 )
                                                       )
The Roman Catholic Diocese of                          ) Case No.
Ogdensburg, New York,                                  ) 23-60507 (PGR)
                                                       )
                               Debtor.                 ) Chapter 11
                                                       )
                                                       )


                                   CERTIFICATE OF SERVICE

 STATE OF CALIFORNIA                     )
                                         )
 COUNTY OF LOS ANGELES                   )


         I, Myra Kulick, am over the age of eighteen years and am employed by Pachulski Stang

Ziehl & Jones LLP. I am not a party to the within action; my business address is 10100 Santa

Monica Boulevard, Suite 1300, Los Angeles, California 90067.

         I hereby certify that on December 13, 2023, I electronically filed the following document

with the Clerk of the Bankruptcy Court using the CM/ECF system which sent notification of such

filing to parties listed on the attached Exhibit A.

    •    NOTICE OF FILING OF THIRD MONTHLY FEE STATEMENT OF PACHULSKI
         STANG ZIEHL & JONES LLP FOR COMPENSATION FOR SERVICES
         RENDERED AND REIMBURSEMENT OF EXPENSES AS COUNSEL TO
         OFFICIAL COMMITTEE OF UNSECURED CREDITORS FOR THE ROMAN
         CATHOLIC DIOCESE OF OGDENSBURG, NEW YORK FOR THE PERIOD
         NOVEMBER 1, 2023 THROUGH NOVEMBER 30, 2023


         And, I hereby certify that on December 13, 2023, I have mailed by the United States Postal

Service the document to the non CM/ECF participants listed on the attached Exhibit B.

         I declare under penalty of perjury, under the laws of the State of California and the United

States of America that the foregoing is true and correct.
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     Executed this 13th day of December, 2023 at Santa Clarita, California.


                                                 /s/ Myra Kulick
                                                 Myra Kulick
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                                            EXHIBIT A

23-60507-6-pgr Notice will be electronically mailed to:

•        Jeffrey Robert Anderson jeff@andersonadvocates.com,
         therese@andersonadvocates.com,erin@andersonadvocates.com;taylor@andersonadvocates.com
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•        Ashlyn Capote acapote@goldbergsegalla.com, bfaulkner@goldbergsegalla.com
•        Keith Caughlin caughlin@schwerzmannwise.com
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                                      EXHIBIT B


The Roman Catholic Diocese of Ogdensburg
Attn: Mark Mashaw
Diocesan Fiscal Officer
622 Washington Street
Ogdensburg, NY 13669
